

People v Colon (2022 NY Slip Op 00976)





People v Colon


2022 NY Slip Op 00976


Decided on February 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 15, 2022

Before: Kapnick, J.P., Webber, Gesmer, Scarpulla, Shulman, JJ. 


Ind. No. 0199/19 Appeal No. 15300 Case No. 2019-4076 

[*1]The People of the State of New York, Respondent,
vAngel Colon, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Zoe Root of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Morgan Namian of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Barry E. Warhit, J.), rendered March 11, 2019, convicting defendant, upon his plea of guilty, of two counts of attempted manslaughter in the second degree, and sentencing him, as a second felony offender, to consecutive terms of 3½ to 7 years, unanimously affirmed.
The court lawfully imposed consecutive sentences. Defendant's plea allocution establishes that, within the same incident, defendant committed a separate act against each of his two victims (see People v Ramirez, 89 NY2d 444, 454-455 [1996]; People v Brathwaite, 63 NY2d 839 [1984]).
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US , 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]), which forecloses review of his excessive sentence claim. In
any event, we perceive no basis for reducing the sentences or running them concurrently.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 15, 2022








